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   6   Attorneys for Defendants, County of San Diego, Sheriff William Gore, Alfred
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   7   and M. Campos (#3780)
   8
                             UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10   FRANKIE GREER,                               Case No.: 19-cv-00378-JO-DEB
  11                 Plaintiff,                     NOTICE OF WITHDRAWAL
  12
                                              Judge:              Hon. Jinsook Ohta
  13   v.                                     Courtroom:          4C (4th Flr)
                                              Magistrate:         Hon. Daniel E. Butcher
  14   COUNTY OF SAN DIEGO, WILLIAM Courtroom:                    3A (3rd Flr)
  15   GORE in his individual capacity,
       ALFRED JOSHUA in his individual
  16   capacity, BARBARA LEE, in her
       individual capacity and DOES 1 to 100,
  17
                     Defendants.
  18
  19   RELATED CROSS-CLAIM(S)
  20
  21
  22         Defendants, County of San Diego, Sheriff William Gore, Alfred Joshua,
  23   M.D., Barbara Lee, Macy Germono, Francisco Bravo, Christopher Simms and M.
  24   Campos (“County Defendants’) hereby withdraw their opposition to plaintiff’s
  25   motion to compel information and material regarding the San Diego Sheriff’s
  26   Department’s Critical Incident Review Board (CIRB), filed as ECF No. 149. County
  27   Defendants inadvertently failed to sign the opposition prior to submitting it for filing.
  28   It will be refiled immediately following this filing.
                                                                              19-CV-00378-JO-DEB

                                       NOTICE OF WITHDRAWAL
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       Dated: April 15, 2022           MCDOUGAL LOVE BOEHMER FOLEY
   1                                   LYON & MITCHELL
   2
   3                               By:_s/Carrie L. Mitchell
                                      Carrie L. Mitchell
   4                                  Attorneys for Defendants, County of San
   5                                  Diego, Sheriff William Gore, Alfred Joshua,
                                      M.D., Barbara Lee, Macy Germono, Francisco
   6                                  Bravo, Christopher Simms and M. Campos
   7                                  (#3780)
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                                  NOTICE OF WITHDRAWAL
